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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
Brandon Ehlis, on behalf of himself and all
others similarly situated,                             Case No. 20-cv-01872-PJS-ECW
              Plaintiff,
v.                                                               ORDER
DAP Products, Inc.,
              Defendant.


       This case is before the Court on the Stipulation for Extension of Time for

Defendant to move, answer, or Otherwise Respond to the Complaint (Dkt. 6). Having

considered the Stipulation, IT IS ORDERED that Defendant DAP Products, Inc., shall

have until and including November 13, 2020, with which to answer or otherwise respond

to Plaintiff's Complaint.




Dated: October 23, 2020                  s/Elizabeth Cowan Wright
                                         ELIZABETH COWAN WRIGHT
                                         United States Magistrate Judge Court
